Case 1:23-cv-00108-LMB-JFA Document 1203-25 Filed 08/23/24 Page 1 of 9 PageID# 89231




                           Exhibit 28
  Case 1:23-cv-00108-LMB-JFA Document 1203-25 Filed 08/23/24 Page 2 of 9 PageID# 89232
  Message


  From:           Brendon Kraham [brendon@google.com]
  Sent:           12/15/20214:30:15 PM
  To:             Matthew DelRe [mcdelre@google.com]
  CC:             Jason Spero uspero@google.com]
  Subject:        Re: [FYI] Search Data Approval: Sharing SQM data feed with Ads client



  Like Pallavi's response, but it's also clear there might be a need to re-review/ re-evaluate.

  Note this might be good to flag to Ryan Vas well. Not that you need him involved, but possibly good for him to
  be aware.

  On Tue, Dec 14, 2021 at 6:46 PM Matthew DelRe <mcdelre@google.com> wrote:
   Fyi only. I'll pull you in as needed, I think we'll need to have some alignment discussions across Ads and
   Search in the new year on query data. Imo it will actually be helpful to get to clear resolution, but we'll need to
   shepard carefully.

   ---------- Forwarded message ---------
   From: Danielle Romain <dromain@google.com>
   Date: Tue, Dec 14, 2021, 8:21 PM
   Subject: Re: [FYI] Search Data Approval: Sharing SQM data feed with Ads client
   To: Pallavi Naresh <plv@google.com>
   Cc: Elizabeth Trumbull <trumbull@google.com>, Xiaowei Zhang <xwzhang@google.com>, Matthew DelRe
   <mcdelre@google.com>, Brian Tschoepe <btschoepe@google.com>


   Pallavi, happy to discuss but my view is we have data sharing policies and existing data sharing arrangements
   that need to be reviewed in light of the current environment and the positions we've taken wrt to data privacy
   and sharing. I'll add that since much of this information is based on Search queries, Search needs to be viewed
   as a peer decision maker to Ads and Sales. Thanks.

   On Tue, Dec 14, 2021 at 7:12 PM Pallavi Naresh <plv@google.com> wrote:
    Thanks Danielle. We will let the DANZ team know.

    I want to make sure it is transparent to you that DANZ is one of many feeds that get shared with customers
    and continue to get shared (dozens of new feeds have been created and shared since your team flagged
    DANZ). We can't shut down data sharing by sellers based on this flag. We can discuss with you proposals for
    changing data-sharing which if Ads and Sales leads agree to it, work through a roll out process of updated data
    sharing on an agreed timeline.

    On Tue, Dec 14, 2021 at 5:06 PM Danielle Romain <dromain@google.com> wrote:
     Hi Pallavi, thanks for following up. If you're looking for additional context and guidance behind the
     recommendations that I shared, I don't think that we need to include Liz; I can represent. (Liz and other VPs
     should absolutely be included for a potential ACM discussion).

        Specific to your comment on holding up the DANZ deal: in my December 9 reply, I acknowledged that
        given that this data has already been shared with the partner, we're limited in our options. By implication, I'm
        fine proceeding in this case.

        On Tue, Dec 14, 2021 at 6:48 PM Pallavi Naresh <plv@google.com> wrote:
         -many




CONFIDENTIAL                                                                                      GOOG-AT-MDL-008166808
  Case 1:23-cv-00108-LMB-JFA Document 1203-25 Filed 08/23/24 Page 3 of 9 PageID# 89233

     I see there are quite a number ofVPs on the list and perhaps not all need to be included! Elizabeth and
     Danielle -- can you advise who should be included in the follow up discussion?

     ---------- Forwarded message ---------
     From: Pallavi Naresh <plv@google.com>
     Date: Tue, Dec 14, 2021 at 4:09 PM
     Subject: Re: [FYI] Search Data Approval: Sharing SQM data feed with Ads client
     To: Vidhya Srinivasan <vids@google.com>, Xiaowei Zhang <xwzhang@google.com>, Matthew DelRe
     <mcdelre@google.com>, Brian Tschoepe <btschoepe@google.com>
     Cc: Danielle Romain <dromain@google.com>, Ian Loughran <iloughran@google.com>, Jana Reuter
     <janareuter@google.com>, Cathy Edwards <cathyedwards@google.com>, Darshan Kantak
     <dkantak@google.com>, David Gasca <gasca@google.com>, David Price <dwp@google.com>, Elizabeth
     Reid <ehamon@google.com>, Elizabeth Trumbull <trumbull@google.com>, Igor Perisic
     <iperisic@google.com>, Jeremy Malasky <jmalasky@google.com>, Pandu Nayak <nayak@google.com>,
     Paul Haahr <haahr@google.com>, Philipp Justus <pjustus@google.com>, Search Trust Data Request
     <search-trust-data-reguest@google.com>, Shiv Venkataraman <shivav@google.com>, Torsten Weindl
     <torstenweindl@google.com>, Walt Drummond <wd@google.com>, Yuan Sun <suny@google.com>


     +Xiaowei Zhang ADI eng lead, +Matthew DelRe +Brian Tschoepe GPLs for ADI




     Hi Danielle and team,

     Thanks for reaching out. From my read of the thread, it sounds like there are two issues at hand:

     (1) the specific sales feed linked in the bug
     (2) the broader issue of whether ADI data (formerly known as SQM) should be shared by sales to
     customers at all for purposes other than direct advertising sales

     On (1 ), I propose we allow this feed to proceed while we align on a long term plan. Per the analytic
     consultant on the project, this specific feed was shared to the client for ~3 years under go/datasharing and
     due to a new process launched this summer, the team reconfigured the feed and re-submitted for
     approval, which is where this thread started. Right now, the client cannot access this data. This feed is one
     of hundreds of similar feeds shared by sales to customers. Holding one such example in limbo hampers a
     single client relationship unnecessarily while we consider updating our policies across the board. If we
     agree to update our policies, we will need a careful migration plan to deal with legacy feeds. Does this
     approach sound reasonable?

     On (2), the seller role is focused on building strong business partnerships and often includes sharing and
     curating Google insights to help customers be successful across their business and marketing. When ads
     customers are able to create meaningful businesses, those businesses can then reach and serve
     customers via ads and increased ads budgets. If we revoke sales access to ADI data in its entirety, it could
     significantly hamper the effectiveness of our sales teams.

     We're happy to discuss the proposals you would like to put in place on the use of ADI data by sales. These
     proposals will need to go to an ACM forum (go/acm, a forum I know many of you are familiar with). This is
     because changes to existing data sharing rules may, depending on the specifics, result in dramatic
     changes to how our sales teams partner with customers. Google Ads senior leadership across sales and
     product should determine whether Google should take on the associated revenue risk.




CONFIDENTIAL                                                                               GOOG-AT-MDL-008166809
  Case 1:23-cv-00108-LMB-JFA Document 1203-25 Filed 08/23/24 Page 4 of 9 PageID# 89234
     In addition, it would also be helpful to learn more about your plans for a public Trends API to give our sales
     team a heads up that this is coming. I don't think this will preclude the need for ADI data as ADI is
     significantly different from Trends data, but certainly allows us to democratize Search data access to all
     customers.

     I will grab time with this group to follow-up.

     Thanks,
     Pallavi


     On Fri, Dec 10, 2021 at 8:53 AM Vidhya Srinivasan <vids@google.com> wrote:
      + plv@ and suny@ to help review this for SQM.


      thanks,

      ~ Vidhya


      On Thu, Dec 9, 2021 at 2:08 PM Danielle Romain <dromain@google.com> wrote:
       + Ian

       On Thu, Dec 9, 2021 at 2:00 PM Danielle Romain <dromain@google.com> wrote:
        Privileged and Confidential
        dwp, please advise.

        + Vidhya, who's team manages SQM
        +Ian

        @Jana Reuter thank you for the additional context. Since DANZ already has the data, we're
        unfortunately limited in what we can do here. However, in light of the current environment with regard
        to data privacy and sharing practices, as well as the statements that we make publicly, I think it's
        important that we take a fresh look at the data sharing policies including those behind systems like SQM.

        @Vidhya Srinivasan: is there someone on your team who we can engage in those conversations about
        revising our data sharing practices that @Elizabeth Trumbull referred to at the beginning of this thread?

        Thanks.

        On Thu, Dec 9, 2021 at 8:35 AM Jana Reuter <janareuter@google.com> wrote:
         Hi everyone,

         to add a little bit more context to our request and answer your questions:

          "[ ... ] has the data been shared with the client yet or not?"

         Yes - the feed has been in place and shared with the client for several years, therefore deprecating it
         would be a major disruption for our client DAZN, affecting the relationship with one of DE LCS' key
         clients. The feed has always been compliant with our data sharing guidelines and we have followed all
         established processes to share this data with our client. The reason we initiated a privacy review is the
         new data sharing process outlined at go/ gbo-datasharing (which covers sharing data from the data source




CONFIDENTIAL                                                                                GOOG-AT-MDL-008166810
  Case 1:23-cv-00108-LMB-JFA Document 1203-25 Filed 08/23/24 Page 5 of 9 PageID# 89235
        ADI via BigQuery). Since this feed is already in place, waiting until the release of a potential Trends
        dataset in HI 2022 is not an option for us.

         "[ ... ] sharing Search or jointly-owned Search/Ads data with 3Ps for non-advertising use cases"

        I wanted to add a bit more context to how our client DAZN is using the data. DAZN's initial ask for the
        data purely originated from a marketing/advertising context. For example, DAZN used the data in an
        MMM (marketing mix model) to analyse the effect of different marketing channels on their subscription
        business. While purely focused on steering marketing decisions, MMMs also incorporate non-
        advertising data as additional variables - that's where the indexed search data was used by DAZN.

        Other use cases include:
        •      Comparing advertising traffic fluctuations to non-advertising search demand and adjusting their
        strategy based on this (e.g. there is a high search demand for boxing in Germany and DAZN has
        exclusive rights -----+ DAZN aims for a high ad click and ad impression share)
        •     Making budget decisions based on search demand (e.g. if the search demand for Champions
        League is higher in Spain than in Italy-----+ Italy receives a higher budget)
        DAZN does not make business decisions solely based on our data. They always look at dozens of data
        points.
        However, we are more than happy to reach out to DAZN and ask for their commitment to only
        use the data in advertising-related contexts.

         "[ ... ] VP approval[ ... ]"

        As Elizabeth has already mentioned, we have the approval and support from our VP Philipp Justus (cc'd
        on this thread).

        I also wanted to copy in yesterday's response from Pallavi Naresh in the original bug ticket, whose team
        governs the Ads data:

          "[. ..] as we aligned earlier this year, this is one sales tool of hundreds of sales tools that are shared
         using "ADI" (Ads Demand Insights) data. We have aligned with the Search team that this is and has
         always been considered Ads data and not Search data. Ifyou wish to reopen this decision, blocking
         the release of 1 sales tool for months is not an appropriate course of action since this tool is compliant
         with Ads data sharing policies.The appropriate path is to sign up for an Ads ACM (go/acm). We
         should close this bug and allow this sales tool to proceed and you should pursue an ACM ifyou would
         like to make a proposal to change Ads data sharing policies. "

        Thanks,
        Jana

        On Thu, Dec 9, 2021 at 5:01 AM Danielle Romain <dromain@google.com> wrote:
         Privileged and Confidential
         dwp, please advise.

         + few of our Ads colleagues for visibility

         Elizabeth, thank you for the context. @Jana Reuter, has the data been shared with the client yet or not?




CONFIDENTIAL                                                                                 GOOG-AT-MDL-008166811
  Case 1:23-cv-00108-LMB-JFA Document 1203-25 Filed 08/23/24 Page 6 of 9 PageID# 89236
         First, I'd like to acknowledge that we're providing feedback quite late in the process and do not intend
         to create chum with clients. I also recognize the intent to share the data under NDA. However, a few
         comments:
         •     In the spirit of Search's Honest Results Policy, I'd propose a principle whereby third-parties,
         including those with whom Google has a commercial relationship, will need to access raw Search data
         (even if jointly owned with Ads) through publicly available tools, unless an exception is approved by a
         Search or Ads Product/Engineering VP.
         •     I'm supportive of sharing aggregated data and insights based on sources like SQM consistent
         with current data sharing policies. Similarly, I'm supportive of using jointly owned Search/Ads data
         (again consistent with our policies) to inform advertising use cases.
         •    I'm not supportive, however, of sharing Search or jointly-owned Search/Ads data with 3Ps for
         non-advertising use cases, even under NDA without the approval of Search or Ads
         Product/Engineering VP.
         As we know, we're in an environment where our stewardship and protection of data (especially user
         data) is under more scrutiny than ever. I believe that we also recognize the risk to potential trust if
         Search data (recognizing again that this data set is co-owned with Ads) is shared with 3Ps with whom
         we have commercial relationships - even under NDA. Our practices matter and I'd like us to apply a
         high bar when we consider sharing data directly with 3Ps, in a way that isn't publicly accessible.

         Unless there is a good reason why the client cannot wait until HI 2022 when Trends capability has
         been expanded or cannot secure proxy information reasonably for 3P sources, my preference would be
         to decline to share the data in this case.

         Welcome feedback from others.

         Thanks,

         DR

         On Wed, Dec 8, 2021 at 6:20 PM Elizabeth Trumbull <trumbull@google.com> wrote:
          Privileged and Confidential
          dwp, please advise.

          Danielle,

          Responses in line.

           May I ask who on the Ads team is preparing to share this information with GBO/the client (latter
           underNDA)?

          Jana Reuter, cc-ed, is the LCS Analytical Consultant who would share the data with the client under
          NDA.

           Separately, it appears that we may have similar sharing arrangements in place. To the extent that
           these have been approved in the past, do we have the rationales documented? I'd like to understand
           our reasonmg.

          Any similar prior data sharing arrangements have not come to the Search team for review in the last
          few years. This request happened to be incidentally flagged for our review by PWG because we
          published the Search User Data guidelines (go/search-user-data-guidelines) this past spring. Search's




CONFIDENTIAL                                                                               GOOG-AT-MDL-008166812
  Case 1:23-cv-00108-LMB-JFA Document 1203-25 Filed 08/23/24 Page 7 of 9 PageID# 89237
          current guidelines do allow this kind of data sharing for historical reasons, but we are considering re-
          evaluating that stance.

          As mentioned, the Ads team considers this to be Ads data governed by Ads/GBO data sharing
          policies (go/datasharing), which would allow this data sharing request. Technically this SQM-based
          data feed is derived from Ads server logs, but the same requests are sent to Ads servers and Search
          servers simultaneously, so it could be considered joint Ads/Search data.

          Given the potential for broader disruption and confusion if we denied this request, the Search Trust
          Data Request team decided to approve it with an eye towards re-examining the data sharing
          guidelines once we've had a chance to consider all the implications and help Ads teams find suitable
          alternatives as necessary.

          Thank you,

          Elizabeth



          On Wed, Dec 8, 2021 at 5:47 PM Danielle Romain <dromain@google.com> wrote:
           Privileged and Confidential
           dwp, please advise.

           Elizabeth, thank you for flagging. May I ask who on the Ads team is preparing to share this
           information with GBO/the client (latter under NDA)?

           Separately, it appears that we may have similar sharing arrangements in place. To the extent that
           these have been approved in the past, do we have the rationales documented? I'd like to understand
           our reasonmg.

           Thanks,

           DR

           On Wed, Dec 8, 2021 at 3:28 PM Elizabeth Trumbull <trumbull@google.com> wrote:
           Attorney Client Privileged - dwp@, please advise.

               Pandu, Liz, Cathy, Danielle, Walt,

               We believe there's a disconnect between how indexed Search query data is currently being used by
               GBO/Ads and Search's understanding of what's being shared externally. The Search Trust Data
               Request team is re-evaluating Search data sharing policies for Ads usage, particularly for joint
               Ads/Search data, but we aren't ready to propose new guidelines at this time. In the meantime, the
               Ads team is planning to share a data feed with their client under NDA. To unblock the team while
               we reconsider Search data sharing guidelines, we asked for and received VP-level sponsorship from
               the Ads (pjustus@) and decided to approve the effort.


               Data Requested: The data feed from SQM contains indexed search volumes for sport competitions
               (e.g. Champions League), sport teams (e.g. Bayern Munich football team) and individual athletes.
               As a streaming service for sporting events, DAZN will use the data to analyze the search demand
               for different sporting events in different countries.




CONFIDENTIAL                                                                                GOOG-AT-MDL-008166813
  Case 1:23-cv-00108-LMB-JFA Document 1203-25 Filed 08/23/24 Page 8 of 9 PageID# 89238

               Why we 're flagging this request: This kind of sales analysis is a common use case for Ads, but the
               Search Trust Data Request team is uncomfortable with the idea of using Search data on an ongoing
               basis to inform external business decisions far beyond advertising-particularly given the recent
               concerns about how Search data is shared externally and potential misconceptions about selling
               access to Search data.

               Guidelines: Per our current guidelines (go/search-user-data-guidelines), these kind of SQM/Wildcat
               data feeds are effectively legacied, but the team believes that now is the time to re-evaluate these
               policies given the efforts to make more Search Trends data available externally. That said, any
               changes to these policies would require extensive discussions between Search and Ads leadership as
               the Ads team has historically considered this data to be Ads data governed by Ads data sharing
               policies ( go/datasharing).

            Alternatives Considered: While there is an effort underway to create a public Trends dataset that
            could serve as an alternative for these kinds of data sharing requests, its targeted launch date is in
            HI 2022. And we'd like to unblock the Ads team in the meantime.


               Please let us know if you have any questions or concerns before this effort proceeds on Monday,
               December 13th.

               Thank you,

               Elizabeth
               (on behalf of the Search Trust Data Request team)



                                           Program Manager,
               Elizabeth Trumbull I                                    trumbull@google.com I         (650) 499-1872
                                           Consumer Trust I




                                         Program Manager,
          Elizabeth Trumbull I                                       trumbull@google.com I         (650) 499-1872
                                         Consumer Trust I




        Jana Reuter
        Analytical Consultant (Media & Public I Gaming)
        janareuter@google.com
        +49 172 310 8035




        Google Germany GmbH




CONFIDENTIAL                                                                                  GOOG-AT-MDL-008166814
  Case 1:23-cv-00108-LMB-JFA Document 1203-25 Filed 08/23/24 Page 9 of 9 PageID# 89239
        ABC-Str. 19
        20354 Hamburg




CONFIDENTIAL                                                         GOOG-AT-MDL-008166815
